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		OSCN Found Document:ESTABLISHMENT OF UNIFORM MILEAGE REIMBURSEMENT RATE FOR EXPENSES PAID FROM COURT FUND

					

				
  



				
					
					
						
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				ESTABLISHMENT OF UNIFORM MILEAGE REIMBURSEMENT RATE FOR EXPENSES PAID FROM COURT FUND2018 OK 2Decided: 01/16/2018THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2018 OK 2, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 



Establishment of Uniform Mileage Reimbursement Rate for Expenses Paid from the Court Fund




ORDER


By reason of the inconsistency in mileage reimbursement rates between the State Travel Reimbursement Act, Title 74 O.S. § 500.4 and the rate of reimbursement for state employees, Title 74 O.S. § 85.45l, for expenses paid from the court fund, the Court directs that uniform rate should be established for the purpose of consistency to assist the accounting and budgeting process in the district courts.

Pursuant to this order all mileage which is reimbursed by the court fund, including, but not limited to jurors, interpreters and witnesses, shall be computed at the standard mileage rate prescribed by the State Travel Reimbursement Act, Title 74 O.S. § 500.4.

The 2018 mileage rate prescribed in the State Travel Reimbursement Act is 54.5 cents per mile.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 16th day of January, 2018.


/S/CHIEF JUSTICE



CONCUR: COMBS, C.J., GURICH, V.C.J., KAUGER, WINCHESTER, EDMONDSON,
COLBERT, REIF, and WYRICK, JJ.







	Citationizer© Summary of Documents Citing This Document
	
	
		
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		Name
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	None Found.
	
	
	Citationizer: Table of Authority
	
	
		
		Cite
		Name
		Level
		
	
	
	Title 74. State Government
&nbsp;CiteNameLevel

&nbsp;74 O.S. 500.4, Mode of Travel - Approval - Rate of ReimbursementDiscussed
&nbsp;74 O.S. 85.45l, Trip Optimizer System Use RequirementsCited


	
	








				
					
					
				

		
		

	
		
			
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